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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

BECKERICH, CHRISTY                                         CASE NO. 1:21-CV-00548 (TSB)
INDIVIDUALLY AND AS
CLASS REPRESENTATIVE, et al

                      Plaintiffs,

v.                                                         PLAINTIFFS’ MOTION TO
                                                           DISMISS SOME PLAINTIFFS
SAINT ELIZABETH MEDICAL                                    FOR MISJOINDER
CENTER, INC., et al

                      Defendants.



       The following Plaintiffs should be dismissed from this action without prejudice pursuant

to FRCP 21 and other applicable law. They were inadvertently placed on the Complaint when

they are employees of Dayton and Nationwide Children’s and will be placed on those lawsuits:

       1. Lyndsay E. Alexander

       2. Melissa Boyer

       3. Amy Burrows

       4. Rachel Freier

       5. Carolyn Hansford

       6. Edward Sizemore

       All other Plaintiffs remain.




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                                                              Respectfully submitted,



                                                              /s/ Glenn D. Feagan_______
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                                                              Independence, Kentucky 41051
                                                              859-363-1900
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                                CERTIFICATE OF SERVICE
       Pursuant to Fed. R. Civ. P. 5(d) and other applicable law, I certify that on this 26th day of
August 2021, I electronically filed the foregoing with the Clerk of Court using the CM/ECF
system, which will automatically send email notification of such filing to all counsel of record
who are deemed to have consented to electronic service.
                                                              /s/ Glenn D. Feagan_______
                                                              Glenn D. Feagan




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